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                IN THE DNITED STATES DISTRICT COURT          j      MAY I 4 2019
                FOR THE EASTERN DISTRICT OF VIRGINIA
                           Richmond Division               I clerk,u.s. district court
                                                                    RICHMOND. VA

UNITED STATES OF AMERICA


V.                                              Criminal No. 3:96cr66-2


DEVON DALE BECKFORD,

     Petitioner.


                          MEMORANDUM OPINION


     By Memorandum Opinion and Order entered on July 5, 2001, the

Court denied on the merits a motion under 28 U.S.C. § 2255 filed

by Devin Dale Beckford.     (ECF Nos. 1660, 1661.)      Since that date,

Beckford has continued to attack his conviction and sentence.               On


February 19, 2019, the Court received from Beckford a "MOTION FOR

RELIEF FROM JUDGEMENT PURSUANT TO FED. R. CIV. P. RULE 60(b)(4)

AND 60(b)(6).   ("Rule 60(b) Motion, ECF No. 1925.")             In his Rule

60(b) Motion,^ Beckford contends that the Court should vacate the




     ^ Federal Rule of Civil Procedure 60(b) provides, in pertinent
part:

     (b) Grounds for Relief from a Final Judgment, Order, or
     Proceeding.   On motion and just terms, the court may
     relieve a party or its legal representative from a final
     judgment, order, or proceeding for the following
     reasons:



          (4) the judgment is void;

          (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b)(4) & (6).
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denial of his § 2255 Motion because the judgment is void and

because of exceptional circumstances.           Beckford tersely concludes

that Rule 60(b)    relief   is   warranted      because    his   trial counsel

should have testified during the § 2255 motion evidentiary hearing,

but apparently did not.     (Rule 60(b) Mot. 3.)

     A party seeking relief under Federal Rule of Civil Procedure

60(b) must make a threshold showing of           timeliness, a meritorious

defense, a lack of unfair prejudice to the opposing party, and

exceptional circumstances.'"        Powell v. State Farm Fire & Cas.

Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993) (quoting Werner v.

Carbo, 731 F.2d 204, 207 (4th Cir. 1984)). After a party satisfies

this threshold showing, "he [or she] then must satisfy one of the

six specific sections of Rule 60(b)."             Id. (citing Werner, 731

F.2d at 207).   Beckford seeks relief under Rule 60(b)(4) and (6),

hence, under Federal Rule of        Civil Procedure 60(c)(1) he was

required to file his motion within a reasonable time after the

entry of the July 5, 2001 Memorandum Opinion and Order.               Fed. R.

Civ. P. 60(c)(1)("A motion under Rule 60(b) must be made within a

reasonable time-and for reasons (1), (2), and (3) no more than a

year after the entry of the judgment or order or the date of the

proceeding.")     Beckford's     Rule   60(b)    Motion,    filed   more   than

seventeen years after the entry of the challenged judgment, was

not filed in a reasonable time.         See McLawhorn v. John W. Daniel

& Co., Inc., 924 F.2d 535, 538 (4th Cir. 1991) ("We have held on
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several occasions that a Rule 60(b) motion is not timely brought

when it is made three to four months after the original judgment

and   no valid    reason is      given for     the   delay,"    (citing      Cent.

Operating   Co.   v.   Utility    Workers     of   Am.,   491   F.2d   245    (4th

Cir.1974); Consol. Masonry & Fireproofing. Inc. v. Wagman Constr.

Corp., 383 F.2d 249 (4th Cir.1967))).          Beckford fails to offer any

persuasive argument as to why this Court should find that his Rule

60(b)(4) or (6) Motion was filed within a reasonable time.                     Cf.

Fortune   v.   Clarke,   712     F.   App'x   296,    297   (4th   Cir.      2018)

(explaining that determination of timeliness of a Rule 60(b) motion

is discretionary, not jurisdictional).

      Moreover, "[a] motion under [Rule] 60(b)(6) may not be granted

absent 'extraordinary circumstances.'"             MLC Auto., LLC v. Town of

Southern Pines, 532 F.3d 269, 277 n.5 (4th Cir. 2008) (quoting

Reid V. Angelone, 369 F.3d 363, 370 (4th Cir. 2004)).                  Beckford

has demonstrated no extraordinary circumstances that would warrant

review of the previous dismissal of his § 2255 Motion or that he

has a meritorious claim.       Accordingly, the Rule 60(b) Motion (ECF

No. 1925) will be denied.        A certificate of appealability will be

denied.
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     Beckford    also   filed   a   MOTION   FOR   COURT   APPOINTED   ATTORNEY


(EOF No. 1926) presumably to assist in the litigation of the Rule

60(b) Motion.    Because the Rule 60(b) Motion is untimely and will

be dismissed, the Motion (EOF No. 1926) will be denied.

     The Clerk is directed to send a copy of this Memorandum

Opinion to Beckford and counsel for the United States.

     It is so ORDERED.


                                                      /s/      ^
Date:   /VLoj.                       Robert E. Payne
Richmond, Virginia                   Senior United States District Judge
